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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
CRIMINAL NO. 24-CR-450 (RDM)

Vv.
BOBBY SHUMAKE JAPHIA
Defendant. :

JOINT PROPOSED SCHEDULING ORDER

The United States of America, by and through its undersigned counsel, and counsel for
defendant Bobby Japhia, hereby submit this joint proposed scheduling order:
Trial shall commence on May 26, 2026 at 9:00 AM. The following deadlines shall
govern pretrial proceedings:
1. The Defendant shall file any pretrial motions pursuant to Rule 12(b)(3) of the
Federal Rules of Criminal Procedure on or before October 20, 2025. Any -
oppositions shall be filed on or before November 3, 2025; and any replies shall

be filed on or before November 10, 2025.

2. The United States must disclose all expert witness information and materials
required by Fed. R. Crim. P. 16(a)(1)(G) no later than February 27, 2026. The
Defendant must disclose all expert witness information and material required by
Fed. R. Crim. P. 16(b)(1)(C) no later than March 13, 2026. The United States
must disclose rebuttal expert witness information and material required by Fed.
R. Crim. P. 16(b)(1)(G) no later than March 27, 2026.

3, The United States shall notify Defendant of its intention to introduce any
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Rule 404(b) evidence not already disclosed on or before March 13, 2026.

The Parties shall file any motions in limine, if any, on or before April 3, 2026.
Any oppositions shall be filed on or before April 17, 2026; and replies shall be
filed on or before April 24, 2026.

Before filing a pretrial motion or motion in limine, the Parties shall meet and
confer to discuss whether any issues presented by the motion can be resolved by

agreement of the parties.

On or before May 1, 2026, counsel shall file a Joint Pretrial Statement that
contains the following:

a. A neutral statement of the case. The Parties shall include a neutral statement

of the case for the Court to read to prospective jurors.

b. Proposed voir dire questions. The Parties shall indicate the voir dire

questions on which they agree; and the voir dire questions on which they
disagree with specific objections and relevant legal authority noted below
each disputed question.

C. Proposed jury instructions. The Parties shall submit a list of proposed jury

instructions, followed by a text of each proposed instruction, that indicates:
(1) the instructions that the parties agree to; and (2) the instructions the
parties disagree to; with specific objections noted below each disputed
instruction, and the proposed instruction’s source including supporting
legal authority. Proposed instructions may be updated as needed to reflect

the evidence presented at trial. Absent a showing of good cause, no other
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modifications will be permitted.

d. List of witnesses. The Parties shall identify the witnesses that each side

anticipates it may call in its case-in-chief. Only upon leave of court and a
showing of good cause will a party be permitted to withhold a witness’s
identity.

e. Exhibit lists. The Parties shall include an exhibit list that each side
anticipates it may introduce in its case-in-chief. The Parties need not list
any exhibit that might be used for purposes of impeachment. The Parties
need not identify or exchange exhibits they intend to introduce pursuant to
Fed. R. Evid. 1006 at this time. The Parties should not provide a copy of
the exhibits to the Court but must exchange pre-marked exhibits. The
Parties must be prepared to raise objections to any proposed exhibit at the
Pretrial Conference. The objecting party shall bring three copies of any

contested exhibit to the Pretrial Conference.

f. Proposed verdict form. The Parties shall include a draft verdict form,

including any special interrogatories. The draft verdict form should include

a date and signature line for the jury foreperson.

On or before May 8, 2026, the Parties shall exchange draft exhibits they intend to

introduce pursuant to Fed. F. Evid. 1006.
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Counsel shall appear on May | 2.2026 fora pretrial conference. oft [O arn,

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SO ORDERED this IT day of / et A 2095.

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ON. RANDOLPH D. MOSS
ITED STATES DISTRICT JUDGE

